Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                  Pro se Notices of Participation Page 1 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                  Pro se Notices of Participation Page 2 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                  Pro se Notices of Participation Page 3 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                  Pro se Notices of Participation Page 4 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                  Pro se Notices of Participation Page 5 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                  Pro se Notices of Participation Page 6 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                  Pro se Notices of Participation Page 7 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                  Pro se Notices of Participation Page 8 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                  Pro se Notices of Participation Page 9 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 10 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 11 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 12 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 13 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 14 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 15 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 16 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 17 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 18 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 19 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 20 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 21 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 22 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 23 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 24 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 25 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 26 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 27 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 28 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 29 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 30 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 31 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 32 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 33 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 34 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 35 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 36 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 37 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 38 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 39 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 40 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 41 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 42 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 43 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 44 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 45 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 46 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 47 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 48 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 49 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 50 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 51 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 52 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 53 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 54 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 55 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 56 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
                 Pro se Notices of Participation Page 57 of 118
Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
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Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
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Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
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Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
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Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
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Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
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Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
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Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
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Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
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Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
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Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
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Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
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Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
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Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
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Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
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Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
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Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
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Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
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Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
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Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
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Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
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Case:17-03283-LTS Doc#:18484-1 Filed:10/13/21 Entered:10/13/21 11:30:56   Desc:
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